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           Proposed Attorneys for the Debtor
           and Debtor-in-Possession


                               UNITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OF OREGON

In re                                                Case No. 20-32485-pcm11

BLUE STAR DOUGHNUTS LLC,                             Chapter 11
DBA BLUE STAR DONUTS,
                                                     DECLARATION OF DANIEL R. KUBITZ
                       Debtor.                       IN SUPPORT OF DEBTOR’S MOTION
                                                     FOR INTERIM AND FINAL ORDERS
                                                     (I) AUTHORIZING PAYMENT OF
                                                     PREPETITION WAGES, SALARIES,
                                                     COMPENSATION, EXPENSES,
                                                     BENEFITS, AND RELATED TAXES,
                                                     (II) AUTHORIZING CONTINUATION OF
                                                     EMPLOYEE BENEFITS POST-
                                                     PETITION, (III) SCHEDULING A FINAL
                                                     HEARING, AND (IV) GRANTING
                                                     RELATED RELIEF

         I, Daniel R. Kubitz, hereby declare under penalty of perjury:

         1.        I am an associate attorney of Stoel Rives, LLP, the proposed attorneys for Blue

Star Doughnuts LLC (“Debtor”) in the above captioned chapter 11 bankruptcy proceeding

(“Case”). I am over 18 years of age. Except as otherwise stated herein, if I were called as a

witness, I could and would competently testify to the matters set forth herein from my own

personal knowledge.



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                  ORDERS (I) AUTHORIZING PAYMENT OF PREPETITION WAGES, SALARIES, COMPENSATION, EXPENSES,
                  BENEFITS, AND RELATED TAXES, (II) AUTHORIZING CONTINUATION OF EMPLOYEE BENEFITS
                  POSTPETITION, (III) SCHEDULING A FINAL HEARING, AND (IV) GRANTING RELATED RELIEF

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         2.        The debtor filed its petition for relief under title 11 of the United States Code on

August 26, 2020 (“Petition Date”).

         3.        On the Petition Date, the Debtor filed its Motion for Interim and Final Orders (i)

Authorizing Payment of Prepetition Wages, Salaries, Compensation, Expenses, Benefits, and

Related Taxes, (ii) Authorizing Continuation of Employee Benefits Post-Petition, (iii) Scheduling

a Final Hearing, and (iv) Granting Related Relief (“Motion”) [Docket No. 12].

         4.        As directed by the Court at the first-day hearing on Friday, August 28, 2020

(“First Day Hearing”), attached hereto as Exhibit A is a statement (“Wage Statement”) setting

forth the Employee Compensation1 to be paid to the Debtor’s Employees that was earned

between August 16, 2020 and August 25, 2020 (“Prepetition Compensation Period”). I

assisted the Debtor in the preparation of the Wage Statement, and its accuracy has been

confirmed by the Debtor’s human resources director.

         5.        In connection with the preparation of the Wage Statement, the Debtor determined

that, in addition to Employee Compensation earned by certain of its part-time and full-time

hourly employees during the prepetition period but unpaid as of the Petition Date, certain

salaried employees had earned tips collected during the Prepetition Compensation Period that

remained unpaid as of the Petition Date, which are reflected in the Wage Statement.




1
       Capitalized terms used but not otherwise defined herein have the meanings ascribed to
them in the Motion.
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         Pursuant to section 1746 of title 28 of the United States Code, I declare under penalty of

perjury that the foregoing statement are true and correct.

           DATED: September 2, 2020.


                                               /s/ Daniel R. Kubitz
                                               Daniel R. Kubitz, OSB No. 181381
                                               daniel.kubitz@stoel.com
                                               Telephone: 503.224.3380
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                                    Blue Star Doughnuts, LLC
               Prepetition Employee Wages and Tips (accrued 8/16/2020 to 8/25/2020)

               Employee          Status Hours   Wages       Tips     Total
              Employee 01       PTH      22.00   $297.00   $123.91   $420.91
              Employee 02       PTH      28.28   $381.78   $159.29   $541.07
              Employee 03       PTH      11.71   $158.09     $65.96  $224.05
              Employee 04       PTH      32.26   $469.39   $181.70   $651.09
              Employee 05       PTH      20.10   $271.35   $113.21   $384.56
              Employee 06       PTH      19.57   $264.20   $110.22   $374.42
              Employee 07       PTH      23.35   $342.98   $131.52   $474.50
              Employee 08       PTH       0.00     $0.00      $0.00    $0.00
              Employee 09       PTH      15.48   $234.34     $87.19  $321.53
              Employee 10       PTH       1.00    $18.00      $0.00   $18.00
              Employee 11       PTH      28.79   $465.44   $162.15   $627.59
              Employee 12       PTH       0.00     $0.00      $0.00    $0.00
              Employee 13       PTH       7.04   $116.16     $39.65  $155.81
              Employee 14       PTH      29.43   $485.60   $165.76   $651.36
              Employee 15       PTH      13.66   $225.39     $76.94  $302.33
              Employee 16       PTH       5.30    $82.15     $29.85  $112.00
              Employee 17       FTH      42.46   $700.59   $239.15   $939.74
              Employee 18       FTH      33.72   $556.38   $189.92   $746.30
              Employee 19       FTH      49.83   $822.20   $280.66 $1,102.86
              Employee 20       FTH      43.92   $680.76   $247.37   $928.13
              Employee 21       salaried   n/a     $0.00   $305.10   $305.10
              Employee 22       salaried   n/a     $0.00      $0.00    $0.00
              Employee 23       salaried   n/a     $0.00   $305.10   $305.10
              Employee 24       salaried   n/a     $0.00      $0.00    $0.00
              Employee 25       salaried   n/a     $0.00      $0.00    $0.00
              Employee 26       salaried   n/a     $0.00      $0.00    $0.00
              Employee 27       salaried   n/a     $0.00   $305.10   $305.10
              Employee 28       salaried   n/a     $0.00      $0.00    $0.00
              Employee 29       salaried   n/a     $0.00      $0.00    $0.00
              Employee 30       salaried   n/a     $0.00      $0.00    $0.00
                                 Totals: 427.9 $6,571.79 $3,319.75 $9,891.55

             PTH = Part-Time Hourly
             FTH = Full-Time Hourly




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